  Case 4:24-cr-00224         Document 65       Filed on 12/12/24 in TXSD         Page 1 of 2
                                                                                     United States District Court
                                         UNCLASS IFIED                                 Southern District of Texas

                                                                                          ENTERED
                            UNITED STATES DISTRICT COURT                              December 16, 2024
                             SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

 UNITED STATES OF AMERICA         §
                                  §                  No. 4:24-cr-224
               v.                 §
                                  §
 ENRIQUE ROBERTO "HENRY"          §
 CUELLAR and IMELDA RIOS          §
 CUELLAR,                         §
                                  §
                      Defendants. §


                  [PROPOSW] PROTECTIVE ORDER UNDER
     SECTION 4 OF THE CLASSIFIED INFORMATION PROCEDURES ACT AND
             FEDERAL RULE OF CRIMINAL PROCEDURE 16(d)(l)

        After careful in camera consideration of the government' s classified motion for a

protective order under§ 4 of the Classified Information Procedures Act (CIPA) and Federal Rule

of Criminal Procedure 16(d)( 1) and accompanying classified exhibits, it is hereby ordered that

the motion is GRANTED.

        The Court finds that the motion, which seeks authorization to withhold certain classified

information from the defense in discovery, was properly filed ex parte under CIPA § 4 and Rule

16(d)(l ).

        The Court finds that the information referenced in the motion is subject to the

government' s classified information privilege because the information is classified and its

disclosure could reasonably be expected to harm the national security of the United States.

        The Court also finds that the classified information that the government seeks to withhold

in discovery is not "relevant or ... helpful to the[] defense." United States v. El-Mezain, 664 F.3d

467, 524 (5th Cir. 2011). The Court finds that those withholdings are consistent with the

government's discovery obligations. See Fed. R. Crim. P. 16(a); Fed. R. Crim. P. 26.2; Brady v.



                                        UNCLASSIFIED
   Case 4:24-cr-00224         Document 65         Filed on 12/12/24 in TXSD       Page 2 of 2
                                              UNCLASS IFIED


 Maryland, 373 U.S. 83 (1963); Giglio v. United States, 40 U.S. 150 (1972). It is therefore

 ordered that the government is authorized to withhold from the defense in discovery the specified

 classified information that the government seeks to withhold in the motion.

         Finally, the motion seeks authorization under CIPA § 4 to provide the defense with an

 unclassified substitution instead of producing other classifed information in discovery. See 18

. U.S.C. app. 3 § 4. The Court finds that the government' s proposed substitution is suitable and _

 adequate, fairly conveying the material underlying information without other sensitive

 information whose disclosure could harm national security, thus giving the defendants

 "substantially the same ability to make [their] defense as would disclosure of the specific

 classified information." 18 U.S.C. app. 3 § 6(c)(l). It is therefore ordered that the government is

 authorized to provide the defense with the proposed unclass~fied substitution specified in the

 motion and to withhold the corresponding classified information identified in the motion.

        It is further ordered that the government' s motion and the accompanying declaration shall

 not be disclosed to the defendant, and shall be sealed and maintained in a facility appropriate for

 the storage of such classified information by the Classified Information Security Officer as the •

 designee of the Clerk of Court, in accordance with established security procedures, for any future

 review, until further order of this Court.

        It is so ordered.

 Dated: ~ l.:J..... , 2024
        Houston, Texas

                                                       Hon. Lee H. Rosenthal
                                                       United States District Judge




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